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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

UNITED STATES OF AMERICA                   )
                                           )
V.                                         )       18   U.S.C.   § 922(g)(l)
                                           )       21   U.S.C.   §§ 84l(a)(l) & (b)(l)(D)
CHRISTOPHER DAVID HIGGINS                  )       18   U.S.C.   § 924(c)(l)(A)
                                           )       18   U.S.C.   § 3147


                                       INDICTMENT

THE GRAND JURY CHARGES THAT:

                                          COUNTl

       A.     On or about June 15, 2021, the defendant,

                            CHRISTOPHER DAVID HIGGINS,

had previously and knowingly been convicted of one or more of the following crimes punishable

by a term of imprisonment exceeding one year:

              1.     Possession of cocaine, in Pulaski County, Arkansas, Circuit Court in Case

                     Number 60CR-04-3701;

              2.     Possession of cocaine with intent to deliver, possession of marijuana with

                     intent to deliver, and possession of drug paraphernalia, in Pulaski County,

                     Arkansas, Circuit Court in Case Number 60CR-05-4454;

              3.     Possession of cocaine with intent to deliver, in Pulaski County, Arkansas,

                     Circuit Court in Case Number 60CR-10-139; and

              4.     Possession of a controlled substance (cocaine), in Pulaski County,

                     Arkansas, Circuit Court in Case Number 60CR-10-3685.




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       B.      On or about June 15, 2021, in the Eastern District of Arkansas, the

defendant,

                              CHRISTOPHER DAVID HIGGINS,

knowingly possessed, in and affecting commerce, one or more of the following firearms:

               1.     a Smith & Wesson, model Bodyguard, .38 caliber revolver, bearing serial

                      number CRK.1836;

               2.     a Springfield Armory (HS Produkt), model XD9, 9mm caliber pistol,

                      bearing serial number BY432358; and

               3.     a SCCY, model CPX-2, 9mm caliber pistol, bearing serial number

                      384062.

       Defendant CHRISTOPHER DAVID HIGGINS committed the above offense while on

pretrial release pursuant to an order dated September 16, 2019, entered by a United States

Magistrate Judge for the Eastern District of Arkansas, Case No. 4: 19CR00219-03 BRW (Doc.

No. 34), which order notified CHRISTOPHER DAVID HIGGINS of the potential effect of

committing a federal offense while on pretrial release.

       All in violation of Title 18, United States Code, Sections 922(g)(l) and 314 7.

                                            COUNT2

       On or about June 15, 2021, in the Eastern District of Arkansas, the defendant,

                              CHRISTOPHER DAVID HIGGINS,

knowingly and intentionally possessed with intent to distribute less than 50 kilograms of a

mixture and substance containing a detectable amount of marihuana, a Schedule I controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(D).

       Defendant CHRISTOPHER DAVID HIGGINS committed the above offense while on

pretrial release pursuant to an order dated September 16, 2019, entered by a United States


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Magistrate Judge for the Eastern District of Arkansas, Case No. 4: 19CR00219-03 BRW (Doc.

No. 34), which order notified CHRISTOPHER DAVID HIGGINS of the potential effect of

committing a federal offense while on pretrial release.

        All in violation of Title 21, United States Code, Sections 841 and Title 18, United States

Code, Section 3147.

                                             COUNT3

        On or about June 15, 2021, in the Eastern District of Arkansas, the defendant,

                                 CHRISTOPHER DAVID HIGGINS,

knowingly and intentionally possessed a firearm, that is: a Smith & Wesson, model Bodyguard,

.38 caliber revolver, bearing serial number CRK.1836, in furtherance of a drug trafficking crime

prosecutable in a court of the United States, that is: a violation of Title 21, United States Code,

Sections 84l(a)(l) and 84l(b)(l)(D), as set forth in Count 2 of this Indictment.

        Defendant CHRISTOPHER DAVID HIGGINS committed the above offense while on

pretrial release pursuant to an order dated September 16, 2019, entered by a United States

Magistrate Judge for the Eastern District of Arkansas, Case No. 4: 19CR00219-03 BRW (Doc.

No. 34), which order notified CHRISTOPHER DAVID HIGGINS of the potential effect of

committing a federal offense while on pretrial release.

        All in violation of Title 18, United States Code, Sections 924(c)(l)(A) and 3147.

                                 FORFEITURE ALLEGATION 1

        Upon conviction of Counts 2 or 3 of this Indictment, the defendant, CHRISTOPHER

DAVID HIGGINS shall forfeit to the United States, under Title 21, United States Code, Section

853(a)(l), all property constituting, or derived from, any proceeds the person obtained, directly

or indirectly, as a result of the offense.




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                               FORFEITURE ALLEGATION 2

       Upon conviction of Count 2 or 3 of this Indictment, the defendant, CHRISTOPHER

DAVID HIGGINS, shall forfeit to the United States, under Title 21, United States Code, Section

853(a)(2), all of the person's property used or intended to be used, in any manner or part, to

commit, or to facilitate the commission of the offense.



                               FORFEITURE ALLEGATION 3

       Upon conviction of Count 1, 2, or 3 of this Indictment, the defendant, CHRISTOPHER

DAVID HIGGINS, shall forfeit to the United States, under Title 18, United States Code, Section

924(d), Title 21, United States Code, Section 853, and Title 28, United States Code, Section

2461 (c ), all firearms and ammunition involved in the commission of the offense.

                     [END OF TEXT. SIGNATURE PAGE ATTACHED.]




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